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                                 United States District Court
                                     NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION


 MARTHA       CAMPOS                               §

 v.                                                :       CIVIL ACTION NO. 3:25-CV-1443-S-BN

 UNITED STATES OF AMERICA                          :

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

          The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. Objections were filed.! The Court reviewed de novo those portions of the proposed

findings,   conclusions,   and    recommendation   to which     objection   was   made,   and   reviewed   the

remaining proposed findings, conclusions, and recommendation for plain error. Finding no error,

the Court ACCEPTS          the Findings,   Conclusions,   and   Recommendation        of the United    States

Magistrate Judge.

          The Court therefore DENIES       Plaintiffs Motion to Remand [ECF No. 6] and Plaintiff's

Objection to Representation and Substitution of Defendant by the United States Government [ECF

No. 8].

          SO ORDERED.

          SIGNED July 9, 2025.



                                                          AL
                                                          iter.
                                                          UNITED STATES DISTRICT                   JUDGE




' Plaintiff Martha Campos filed the Motion for Reconsideration and Objection to Findings and
Recommendation [ECF No. 31]. The Court construes the entire filing as objections to the Findings,
 Conclusions, and Recommendation.
